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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-62371-CIV-SINGHAL/VALLE

  WILLIAM JAMES GRIFFIN, et al.,

         Plaintiffs,

  v.

  BENEFYTT TECHNOLOGIES, INC., et al.,

       Defendants.
  __________________________________________/

           ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
       MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning

  on July 31, 2023, at 9:00 a.m. Calendar call will be held at 10:00 a.m. on Friday, July

  28, 2023. No pre-trial conference will be held unless a party requests one at a later date

  and the Court determines that one is necessary.         Unless instructed otherwise by

  subsequent order, the trial and all other proceedings in this case shall be conducted in

  Courtroom 110 at the United States Courthouse, 299 East Broward Boulevard, Fort

  Lauderdale, Florida 33301. The parties shall adhere to the following schedule:

    06/23/2022          The parties shall select a mediator pursuant to Local Rule
                        16.2, shall schedule a time, date, and place for mediation,
                        and shall jointly file a notice, and proposed order scheduling
                        mediation via CM/ECF in the form specified on the
                        Court’s website, http://www.flsd.uscourts.gov. If the parties
                        cannot agree on a mediator, they shall notify the Clerk in
                        writing as soon as possible, and the Clerk shall designate a
                        certified mediator on a blind rotation basis. Counsel for all
                        parties shall familiarize themselves with and adhere to all
                        provisions of Local Rule 16.2. Within three
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                        (3) days of mediation, the parties are required to file a mediation
                        report with the Court. Pursuant to the procedures outlined in the
                        CM/ECF Administrative Procedures, the proposed order is also
                        to be e-mailed to singhal@flsd.uscourts.gov in Word format.

   05/13/2022           All motions to amend pleadings or join parties are filed.

   10/1/2022            Class discovery completed.

   10/14/2022           Motions for class certification filed.

   02/01/2023           Plaintiffs disclose experts and expert witness summaries or
                        reports.

   03/15/2023           Defendants disclose experts and expert witness summaries or
                        reports.

   03/31/2023           All discovery, including expert discovery, is completed.

   03/15/2023           Parties must have completed mediation and filed a mediation
                        report.

   04/15/2023           All pre-trial motions and Daubert motions (which include motions
                        to strike experts) are filed.     This deadline includes all
                        dispositive motions.

   06/16/2023           Motions in limine are filed.

   07/18/2023           Parties submit joint pre-trial stipulation in accordance with Local
                        Rule 16.1(e), proposed jury instructions and verdict form, or
                        proposed findings of fact and conclusions of law, as applicable.

         Motions in Limine. Each party is limited to filing one motion in limine. If all

  evidentiary issues cannot be addressed in a 20-page memorandum, the parties may seek

  leave to exceed the page limit. No reply will be filed unless ordered by the Court. The

  parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)

  certification.

         Daubert Motions. Each side is limited to filing one Daubert motion per expert,

  limited to 10 pages. The response shall be limited to 10 pages and no reply will be filed

  unless ordered by the Court. If all evidentiary issues cannot be addressed in a 10-page



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  memorandum, the parties may seek leave to exceed the page limit. The parties are

  reminded that Daubert motions must contain the Local Rule 7.1(a)(3) certification.

         Summary Judgment Motions. The parties are reminded that strict compliance

  with Local Rule 56.1 is mandated. Pursuant to Local Rule 56.1(a)(2), a statement of

  material facts must be supported by specific references to pleadings, depositions,

  answers to interrogatories, admissions, and affidavits on file with the Court. In the event

  a responding party fails to controvert a movant’s supported material facts in an opposing

  statement of material facts, the movant’s material facts will be deemed admitted. See

  S.D. Fla. L.R. 56.1(b). In the interest of judicial economy, in the interest of proper and

  careful consideration of each party’s statement of material facts, and in the interest of

  determining matters on summary judgment on the merits, the Court orders the parties to

  file any statements of material facts as follows:

            1. The moving party shall file a statement of material facts as a separate filing

                from a motion for summary judgment.

            2. Each material fact in the statement that requires evidentiary support shall

                be set forth in an individually numbered paragraph and supported by a

                specific citation. This specific citation shall reference pages (and paragraph

                or line numbers, if applicable) of the cited exhibit(s). When a material fact

                requires evidentiary support, a general citation to an exhibit, without a

                page number or pincite, is not permitted.

            3. Each exhibit referenced in the motion for summary judgment and/or in the

                statement of material facts must be filed on the docket. Exhibits which have

                already been filed on the docket need not be refiled.         If a deposition




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              transcript is referenced, a complete copy must be filed which includes all

              exhibits. Within twenty-four (24) hours of filing a motion for summary

              judgment, the movant shall separately file an index of the cited exhibits

              which names each exhibit and references the docket entry at which that

              exhibit may be found.

           4. The responding party may file an opposing statement of material facts

              which responds to the moving party’s statement of material facts.         A

              responding party’s opposing statement of material facts must specifically

              respond to each statement in the movant’s statement by setting forth each

              of the individually numbered paragraphs contained in the movant’s

              statement and after each paragraph, detail respondent’s response or

              opposition. By way of example:

              Movant’s Statement of Material Facts

              1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.

              2. John Smith owns Blackacre. Exhibit B ¶ 12.

              Respondent’s Opposing Statement of Material Facts

              1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.
                 Admitted that Blackacre is located at 123 Main Street. Exhibit A ¶ 1.
                 Denied that the property is vacant. Exhibit C at 5.

              2. John Smith owns Blackacre. Exhibit B ¶ 12.
                 Denied as phrased. Admitted that the last recorded deed to Blackacre
                 names John Smith. Exhibit B ¶ 12.

           5. Each exhibit referenced in the response to the motion for summary

              judgment and/or in the opposing statement of material facts must be filed

              on the docket. Exhibits which have already been filed on the docket need


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                not be refiled. If a deposition transcript is relied upon, a complete copy must

                be filed which includes all exhibits. Within twenty-four (24) hours of filing

                a response to the motion for summary judgment, the responding party shall

                separately file an index of the cited exhibits which names each exhibit and

                references the docket entry at which that exhibit may be found.

            6. In the event that cross motions for summary judgment are filed, the Court

                may order the parties to submit a consolidated statement of material facts

                and responses as appropriate. If cross motions are anticipated, the parties

                may jointly move for an order to file consolidated statements prior to filing

                the motions for summary judgment.

        Jury Instructions and Verdict Form (if applicable). The parties shall submit

  their proposed jury instructions and verdict form jointly, although they need not agree on

  each proposed instruction. Where the parties do not agree on a proposed instruction,

  that instruction shall be set forth in bold type. Instructions proposed only by a plaintiff

  shall be underlined. Instructions proposed only by a defendant shall be italicized. Every

  instruction must be supported by citation to authority. The parties shall use as a guide

  the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including the directions to

  counsel contained therein. Proposed jury instructions and verdict form, in typed form,

  including substantive charges and defenses, shall be submitted to the Court prior to

  calendar call, in Word format, via e-mail to singhal@flsd.uscourts.gov.

        Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s

  Magistrate Judge Rules, all discovery matters are referred to Judge Alicia O. Valle.

  Furthermore, pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final




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  disposition by Judge Alicia O. Valle. The deadline for submitting consent is April 15,

  2023.

          Discovery. The parties may stipulate to extend the time to answer interrogatories,

  produce documents, and answer requests for admissions. The parties shall not file with

  the Court notices or motions memorializing any such stipulation unless the stipulation

  interferes with the deadlines set forth above. Stipulations that would so interfere may be

  made only with the Court’s approval. See Fed. R. Civ. P. 29. In addition to the documents

  enumerated in Local Rule 26.1(b), the parties shall not file notices of depositions with the

  Court. The parties must make every effort to resolve discovery disputes without requiring

  Court intervention. Strict compliance with the Local Rules is expected, particularly with

  regard to motion practice. See S.D. Fla. L.R. 7.1.

          Discovery Disputes.      Judge Alicia O. Valle requires an expedited briefing

  schedule and shortened page limitation for discovery motions (which must contain the

  Local Rule 7.1(a)(3) certification of good faith conference) to prevent delay to the pretrial

  schedule. The parties shall file responses to discovery motions no later than seven (7)

  days after a motion is filed. No replies will be filed unless requested by the Magistrate

  Judge. Any discovery motion and response, including the incorporated memorandum of

  law, shall not exceed ten (10) double-spaced pages. The Court may impose sanctions,

  monetary or otherwise, if it determines discovery is being improperly sought or is being

  withheld in bad faith.

          Civility and Professionalism. Members of the bar and the Court are proud of the

  long tradition of courteous practice in the Southern District of Florida. Indeed, it is a

  fundamental tenet of this Court that attorneys in this District be governed at all times by




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  a spirit of cooperation, professionalism, and civility. For example, and without limiting the

  foregoing, it remains the Court’s expectation that counsel will seek to accommodate their

  fellow practitioners, including in matters of scheduling, whenever reasonably possible and

  that counsel will work to eliminate disputes by reasonable agreement to the fullest extent

  permitted by the bounds of zealous representation and ethical practice.

          To that end, the Court advises the parties that strict compliance with the

  requirements of Local Rule 7.1(a)(3) is expected. In addition, if a motion for extension of

  time is opposed, this Court requires that the certificate of conferral state briefly the

  reason(s) for opposing counsel’s objection to the requested extension.

          The parties are further advised that the failure to comply with any of the

  procedures contained in this Order or the Local Rules may result in the imposition of

  appropriate sanctions, including, but not limited to, the dismissal of this action or entry of

  default.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 9th day of May

  2022.




  Copies furnished to counsel of record via CM/ECF




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